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IN THE UNITED sTATES DISTRICT coURT ~ \. -..).c.
FOR THE wEsTERN DISTRICT oF TENNESSEE 15 my ,°
wEsTERN DIVISION " v 51’~;»’!!-'@5

 

MEMPHIS CENTER FOR INDEPENDENT
LIVING,

 

Plaintiff,
vs.

RICHARD AND MILTON GRANT CO.,
et al.,

Case 01-2069 D/P
Defendants,

and

U'NITED STATES OF AMERICA.
Plaintiff-Intervenor,

VS.

RICHARD AND MILTON GRANT CO.,
et al.,

Defendants.

 

ORDER DENYING DEFENDANTS' MOTION FOR PROTECTIVE ORDER

 

Before the court is Defendants Richard and Milton Grant
Company, J. Richard Grant and Milton C. Grant's Motion for
Protective Order, filed April 19, 2005. On May 4, 2005, the
plaintiffs filed their response. The matter was referred to the
magistrate judge for determination.

On March 17, 2005, this court entered an order granting in

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This document entered on the docket sheet In compliance 5( z 7

with nme 58 and/or 79(a) FRCP on * -O

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part and denying in part the plaintiffs’ motion to compel financial
discovery and to reopen discovery. In. that order, the court
directed the defendants to respond to certain interrogatories and
document requests, and limited the responses to information
pertaining to their net Worth since 2002. The court further
ordered that the plaintiffs could depose the defendants regarding
their discovery responses. Nothing in the defendants' present
motion suggests to the court that the March 17 order should be

amended or modified in any way. Therefore, the motion is DENIED.

hoc

TU M. PHAM
United States Magistrate Judge

c'/{?/OF

IT IS SO ORDERED.

 

Date

 

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This notice confirms a copy of the document docketed as number 583 in
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May 18, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

